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                         QCourt of                   jfeberal    QClaims
                                  No. 14-1198C
                            (Filed: February 13, 2015)                       FILED
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PAUL JAMES UP SHER,                                                        U.S. COURT OF
                                                                          FEDERAL CLAlMS
                      Plaintiff,

v.

THE UNITED STATES,

                      Defendant.

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                                    ORDER

        Plaintiff, Paul James Upsher, appearingpro se, filed a complaint in this
court on December 12, 2014. Defendant has not filed an answer or otherwise
responded to the complaint. We need not wait for an answer, however, because
it is obvious that we lack subject-matter jurisdiction.

        Although complaints filed by prose plaintiffs are held to "less stringent
standards than formal pleadings drafted by lawyers," Estelle v. Gamble, 429
U.S. 97, 106 (1976), that cannot excuse jurisdictional defects that appear on
the face of the pleadings. Jurisdiction is a threshold issue which "may be
challenged at any time by the parties or by the court sua sponte." Folden v.
United States, 379 F.3d 1344, 1354 (Fed. Cir. 2004). Pursuant to rule 12(h)(3)
of the Rules of the United States Court of Federal Claims, if we determine "at
any time that [we] lack[] subject-matter jurisdiction, [we] must dismiss the
action." Jurisdiction in this court is primarily based on the Tucker Act, which
empowers us to "render judgment upon any claim against the United States
founded either upon the Constitution, or any Act of Congress or any regulation
of an executive department, or upon any express or implied contract with the
United States, or for liquidated or unliquidated damages in cases not sounding
in tort." 28 U.S.C. § 149l(a)(l) (2012).
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       Plaintiff's complaint is very difficult to decipher. From what we are
able to discern from it, plaintiff seeks to overturn his criminal convictions by
the Commonwealth of Pennsylvania in 1979 for murder, robbery, criminal
conspiracy, and illegal possession of firearms. Plaintiff alleges that he was
induced to waive his rights and privileges by "shrewd legal [entrapment],
deception, color oflaw and [c]onstructive [f]raud," placing plaintiff under "de
factor and foreign JURISDICTION AUTHORITY." Compl. 2. He cites the
Pennsylvania Constitution, the United States Constitution, and the Declaration
of Human Rights in support. Plaintiff also alleges breach of contract but
ultimately specifies no amount of monetary damage sustained from the injury.

        We decline to entertain claims that are, in essence, "a collateral attack
on [criminal] convictions under the guise of a claim for money damages."
Carter v. United States, 228 Ct. Cl. 898, 900 ( 1981 ). We have no jurisdiction
unless there is a constitutional provision, statute, or regulation which "can
fairly be interpreted as mandating compensation by the Federal government for
the damage sustained." Eastport S.S. Corp. v. United States, 178 Ct. Cl. 599,
607 (1967). We cannot identify in plaintiff's complaint, even in the light most
favorable to plaintiff, such a statute, regulation, or constitutional provisions
that would grant plaintiff a right to the payment of money. To put it simply, we
do not possess jurisdiction to entertain criminal matters.

       Because we find that we lack subject-matter jurisdiction over plaintiff's
complaint, we must dismiss it. Accordingly, the clerk of court is ordered to
dismiss the complaint and enter judgment accordingly. No costs.




                                                   L~ J
                                                   ERICG.BR~
                                                   Judge




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